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AO 245D (CASO Rev. 1/ 19) Judgment in a Criminal Case for Revocations


                                          UNITED STATES DISTRICT COURT
                                                SOUTHERN DISTRICT OF CALIFORNIA
                  UNITED STATES OF AMERICA                             JUDGMENT IN A CRIMINAL CASE
                                                                       (For Revocation of Probation or Supervised Release)
                                                                       (For Offenses Committed On or After November 1, 1987)
                                     V.
                  JENARO MIRANDA ACUNA (I)
                                                                          Case Number:         3:21-CR-10082-JAH

                                                                       Brett T. Diehl
                                                                       Defendant 's Attorney
REGISTRATION NO.                     76351-061
•-
THE DEFENDANT:
IZI       admitted guilt to violation of allegation(s) No.      1, 2

0         was found guilty in violation of allegation(s) No.
                                                               - - - - - - - - - - - - - after denial of guilty.
Accordingly, the court has adjudicated that the defendant is guilty of the following allegation(s):

Allegation Number                      Nature of Violation

                                       nv21 , Failure to participate in drug aftercare program

                   2                   nv3, Unlawful use of a controlled substance or Failure to Test; VCCA (Violent Crime Control
                                       Act)




     Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 5 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
        IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines , restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant's economic circumstances.

                                                                       Mav 16 2022
                                                                       Date of Imposition of Sentence
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                                                        IMPRISONMENT
      The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
      4 months




      •     Sentence imposed pursuant to Title 8 USC Section 1326(b).
      •     The court makes the following recommendations to the Bureau of Prisons:




      •     The defendant is remanded to the custody of the United States Marshal.

      •     The defendant shall surrender to the United States Marshal for this district:
            •     at                             A.M.              on
            •     as notified by the United States Marshal.

            The defendant shall surrender for service of sentence at the institution designated by the Bureau of
      •     Prisons:
            •     on or before
            •     as notified by the United States Marshal.
            •     as notified by the Probation or Pretrial Services Office.

                                                            RETURN
     I have executed this judgment as follows:

            Defendant delivered on                                            to

     at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                     UNITED STATES MARSHAL



                                         By                     DEPUTY UNITED STATES MARSHAL




                                                                                                      3:21-CR-10082-JAH
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                                                  SUPERVISED RELEASE
Upon release from imprisonment, the defendant will be on supervised release for a term of:
32 months

                                               MANDATORY CONDITIONS
l . The defendant must not commit another federal, state or local crime.
1. The defendant must not unlawfully possess a controlled substance.
2. The defendant must not illegally possess a controlled substance. The defendant must refrain from any unlawful use of a
    controlled substance. The defendant must submit to one drug test within 15 days of release from imprisonment and at least
    two periodic drug tests thereafter as determined by the court. Testing requirements will not exceed submission of more
    than 4 drug tests per month during the term of supervision, unless otherwise ordered by the court.
          • The above drug testing condition is suspended, based on the court's determination that the defendant poses a low
             risk of future substance abuse. (check if applicable)
3.   • The defendant must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing
     a sentence of restitution. (check if applicable)
4.   ~ The defendant must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5.   • The defendant must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. §
     20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in
     the location where the defendant resides, works, is a student, or was convicted of a qualifying offense. (check if
     applicable)
6.   • The defendant must participate in an approved program for domestic violence. (check if applicable)
The defendant must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page.




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     DEFENDANT:                   JENARO MIRANDA ACUNA (1)                                                               Judgment - Page 4 of 5
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                                          ST AND ARD CONDITIONS OF SUPERVISION
    As part of the defendant's supervised release, the defendant must comply with the following standard conditions of
    supervision. These conditions are imposed because they establish the basic expectations for the defendant's behavior
    while on supervision and identify the minimum tools needed by probation officers to keep informed, report to the
    court about, and bring about improvements in the defendant' s conduct and condition.

    I . The defendant must report to the probation office in the federal judicial district where they are authorized to reside within 72
        hours of their release from imprisonment, unless the probation officer instructs the defendant to report to a different probation
        office or within a different time frame.

    1. After initially reporting to the probation office, the defendant will receive instructions from the court or the probation officer
       about how and when the defendant must report to the probation officer, and the defendant must report to the probation officer
       as instructed.

    2. The defendant must not knowingly leave the federal judicial district where the defendant is authorized to reside without first
       getting permission from the court or the probation officer.

    3. The defendant must answer truthfully the questions asked by their probation officer.

    4. The defendant must live at a place approved by the probation officer. If the defendant plans to change where they live or
       anything about their living arrangements (such as the people living with the defendant), the defendant must notify the
       probation officer at least 10 days before the change. If notifying the probation officer in advance is not possible due to
       unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a change or
       expected change.

    5. The defendant must allow the probation officer to visit them at any time at their home or elsewhere, and the defendant must
       permit the probation officer to take any items prohibited by the conditions of their supervision that he or she observes in plain
       view.

    6. The defendant must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
       excuses the defendant from doing so. If the defendant does not have full-time employment the defendant must try to find full-
       time employment, unless the probation officer excuses the defendant from doing so. If the defendant plans to change where the
       defendant works or anything about their work (such as their position or their job responsibilities), the defendant must notify the
       probation officer at least 10 days before the change. If notifying the probation officer at least l 0 days in advance is not possible
       due to unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a
       change or expected change.

    7. The defendant must not communicate or interact with someone they know is engaged in criminal activity. If the defendant
       knows someone has been convicted of a felony, they must not knowingly communicate or interact with that person without
       first getting the permission of the probation officer.

    8. If the defendant is arrested or questioned by a law enforcement officer, the defendant must notify the probation officer within 72 hours.

    9. The defendant must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
       anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such
       as nunchakus or tasers ).

    10 . The defendant must not act or make any agreement with a law enforcement agency to act as a confidential human source or
         informant without first getting the permission of the court.

    11 . If the probation officer determines the defendant poses a risk to another person (including an organization), the probation
         officer may require the defendant to notify the person about the risk and the defendant must comply with that instruction.
         The probation officer may contact the person and confirm that the defendant notified the person about the risk.

    12. The defendant must follow the instructions of the probation officer related to the conditions of supervision.




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                                        SPECIAL CONDITIONS OF SUPERVISION

          1. The defendant shall complete his general equivalency diploma.
          2. The Defendant shall participate in a program of testing and treatment for alcohol and controlled substance abuse,
             as directed by the U.S . Probation Office, until such time as the defendant is released from the probation office.
             The defendant will make a co-payment for treatment services not to exceed $25 per month, which is determined
             by the defendant's ability to pay.
          3. Not enter or reside in the Republic of Mexico without permission of the court or probation officer, and comply
             with both United States and Mexican immigration law requirements.
          4. Participate in an Outpatient drug treatment program. Allow for reciprocal release of information between the
             probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
             amount to be determined by the probation officer, based on ability to pay.
          5. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
          6. Submit your person, property, house, residence, vehicle, papers, [computers (as defined in 18 U.S.C. §
             1030(e)(l)), other electronic communications or data storage devices or media,] or office, to a search conducted
             by a United States probation officer. Failure to submit to a search may be grounds for revocation of release. The
             offender must warn any other occupants that the premises may be subject to searches pursuant to this condition.
             An officer may conduct a search pursuant to this condition only when reasonable suspicion exists that the
             offender has violated a condition of his supervision and that the areas to be searched contain evidence of this
             violation. Any search must be conducted at a reasonable time and in a reasonable manner.

     II




                                                                                                         3 :2 1-CR-10082-JAH
